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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                     )
MIKHAIL FRIDMAN, et al.,             )
                                     )
                         Plaintiffs, )
                                     )
v.                                   )                       Civil Case No. 1:17-cv-2041-RJL
                                     )
ORBIS BUSINESS INTELLIGENCE          )
LIMITED, et al.                      )
                                     )
                         Defendants. )
                                     )

             PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO SERVE
              SUBPOENAS ON DANIEL JONES AND THE DEMOCRACY
                INTEGRITY PROJECT VIA ALTERNATIVE SERVICE

               Plaintiffs Mikhail Fridman, Petr Aven and German Khan respectfully move this

Court pursuant to Fed. R. Civ. P. 45 for an order granting them leave to serve certain third party

subpoenas via means of service other than personal service. Specifically, Plaintiffs seek an order

stating that service on third parties Daniel J. Jones and The Democracy Integrity Project, a

defunct D.C. Corporation, through Mr. Jones as last reported principal officer, by (1) posting a

copy of the subpoena outside the lobby of Mr. Jones’ place of residence and leaving a copy with

the concierge; (2) delivering a copy by certified mail to Mr. Jones’ place of residence; 3) email to

the address info@advdem.org, which is the email address for Advance Democracy Inc., a

Delaware corporation with which Mr. Jones is associated; 4) email to daniel@thepqg.com, the

email address provided for Mr. Jones as registered agent for The Penn Quarter Group, a District

of Columbia limited liability company; and 5) certified mail to the Penn Quarter Group at “801

Pennsylvania Ave, NW, c/o Daniel Jones, Washington, D.C. 20004,” which is the registered

business address and registered agent address for that company, shall be deemed good and
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sufficient service under Rule 45. Plaintiffs have expanded substantial time, energy, and money

attempting to serve Mr. Jones and TDIP via personal service. Because Mr. Jones appears to be

attempting to evade service and service on Mr. Jones and TDIP in the above described manner is

calculated to provide actual notice of the Subpoena, the Court should deem such service to be

good and sufficient service under Rule 45.

               Pursuant to Local Civil Rule 7(m), on Monday, August 3, 2020 Plaintiffs’ counsel

met and conferred with Defendants’ counsel with respect to the requested relief. Defendants’

counsel indicated that, while they have not seen the motion papers, they do not oppose the relief

requested, and otherwise take no position on the motion.

               For the reasons set forth in Plaintiffs’ Memorandum of Points and Authorities the

Motion should be granted. A proposed order is enclosed.



Dated:         Washington, D.C.
               August 5, 2020                Respectfully submitted,


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                                               Attorneys for Plaintiffs




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of August 2020, I electronically filed and served the
foregoing using the CM/ECF system.

                                                     /s/ Kim Sperduto
                                                     Kim Sperduto




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